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                                                            9

                                                            10                                 UNITED STATES DISTRICT COURT
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                                                            11                                         DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            12
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                                                            13   NEWREZ   LLC    DBA                 SHELLPOINT            Case No.: 2:20-cv-00946-JCM-BNW
                                                                 MORTGAGE SERVICING,
                                                            14
                                                                                               Plaintiff,                  STIPULATED PROTECTIVE ORDER
                                                            15

                                                            16   vs.
                                                            17   JOEL A. STOKES AND SANDRA F. STOKES,
                                                                 as trustees of the JIMIJACK IRREVOCABLE
                                                            18   TRUST; DOE INDIVIDUALS I-X, inclusive,
                                                                 and ROE CORPORATIONS I-X, inclusive,
                                                            19
                                                                                               Defendants.
                                                            20

                                                            21           Subject to the approval of the Court, NewRez LLC dba Shellpoint Mortgage Servicing
                                                            22   (Shellpoint) and Joel A. Stokes and Sandra F. Stokes, as Trustees of the Jimijack Irrevocable Trust
                                                            23   (Stokes), by and through their attorneys of record, stipulate to the following Protective Order:
                                                            24           To expedite the flow of discovery, facilitate the prompt resolution of disputes over
                                                            25   confidentiality, adequately protect material claimed to be confidential, and ensure protection is
                                                            26   afforded only to material so designated, it is, pursuant to the Court's authority under Federal Rules of
                                                            27   Civil Procedure 26(c), ORDERED this Protective Order shall govern the disclosure, handling and
                                                            28   disposition of documents in this litigation as follows:

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                                                            1                 1.    Application.

                                                            2                       1.1    This Protective Order shall govern any document, information or other material

                                                            3    that is designated as containing "Confidential Information" as defined herein, and is produced in

                                                            4    connection with this litigation by any person or entity (the "producing party"), whether in response to

                                                            5    a discovery request, subpoena or otherwise, to any other person or entity (the "receiving party")

                                                            6    regardless of whether the person or entity producing or receiving such information is a party to this

                                                            7    litigation.

                                                            8                       1.2    The party who asserts that particular information should be treated as
                                                            9    Confidential Information under this Protective Order has the burden of proof to establish that the

                                                            10   information or document is entitled to such protection.
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                                                            11           2.         Definitions.
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                                                            12                     2.1     Confidential Information. "Confidential Information" shall mean and include,
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                                                            13   without limitation, any non-public information that concerns or relates to the following areas:

                                                            14   confidential proprietary information, trade secrets, practices and procedures, personal financial

                                                            15   information, commercial, financial, pricing, budgeting, and/or accounting information, information

                                                            16   about existing and potential customers, marketing studies, performance projections, business

                                                            17   strategies, decisions and/or negotiations, personnel compensation, evaluations and other employment

                                                            18   information, and confidential proprietary information about affiliates, parents, subsidiaries and third-

                                                            19   parties with whom the parties to this action have or have had business relationships.

                                                            20                     2.2     Documents. As used herein, the term "documents" includes all writings,

                                                            21   records, files, drawings, graphs, charts, photographs, e-mails, video tapes, audio tapes, compact discs,

                                                            22   electronic messages, other data compilations from which information can be obtained and other

                                                            23   tangible things subject to production under the Federal Rules of Civil Procedure.

                                                            24           3.         Initial Designation.

                                                            25                     3.1     Good Faith Claims. Claims of confidentiality will be made only with respect to

                                                            26   documents, other tangible things and information that the asserting party has a good faith belief are

                                                            27   within the definition set forth in subparagraph 2.1 of this Protective Order. Objections to such claims

                                                            28   made pursuant to paragraph 5, below, shall also be made only in good faith.
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                                                            1                   3.2      Produced Documents. A party producing documents that it believes constitute

                                                            2    or contain Confidential Information shall state that the material is being produced under this

                                                            3    Protective Order by describing the documents or materials to be treated as confidential in writing, by

                                                            4    page or bates number wherever possible and/or shall produce copies bearing a label that contains or

                                                            5    includes language substantially identical to the following:

                                                            6                                              CONFIDENTIAL

                                                            7            This label shall be affixed in a manner that does not obliterate or obscure the contents of the

                                                            8    copies. If any person or party makes copies of documents designated as containing Confidential
                                                            9    Information, the copying person or party shall mark each such copy as containing Confidential

                                                            10   Information in the same form as the Confidentiality notice on the original document.
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                                                            11           A party producing documents that are stored on electronic, magnetic, optical or other non-paper
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                                                            12   media, such as compact discs, DVD's, video tapes and audio tapes (collectively, "data storage
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                                                            13   devices") shall designate the data storage device as containing Confidential Information, by affixing a

                                                            14   label or stamp to the data storage device in the manner described above at the time copies of such data

                                                            15   storage devices are produced. If the receiving party or other persons or entities to whom disclosure is

                                                            16   authorized pursuant to subparagraph 7.1 make a copy of any data storage device designated by the

                                                            17   producing party as containing Confidential Information, the receiving party or other authorized person

                                                            18   shall mark each such copy as containing Confidential Information in the same form as the

                                                            19   confidentiality notice on the original data storage device produced. If the receiving party or other

                                                            20   authorized person prints out or otherwise makes copies of the documents or information stored on

                                                            21   such data storage device, the receiving party or other authorized person shall mark each page so

                                                            22   copied with the label or stamp specified in subparagraph 3.2.

                                                            23                   3.3     Interrogatory Answers. If a party answering an interrogatory or other discovery

                                                            24   demand believes that its answer contains Confidential Information, it shall state so in the interrogatory

                                                            25   response, and that portion of the response will be entitled to the protections of this order.

                                                            26                  3.4      Inspection of Documents. In the event a party elects to produce files and

                                                            27   records for inspection and the requesting party elects to inspect them, no designation of Confidential

                                                            28   Information needs to be made in advance of the inspection. For purposes of such inspection, all
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                                                            1    material produced shall be considered as Confidential Information. If the inspecting party selects

                                                            2    specified documents to be copied, the producing party shall designate Confidential Information in

                                                            3    accordance with subparagraph 3.2 at the time the copies are produced.

                                                            4                 3.5       Deposition Transcripts. The party asserting confidentiality shall state on the

                                                            5    record the portions it deems confidential.       The failure to designate testimony on the record as

                                                            6    confidential shall be a waiver unless the designating party notifies all other parties and files a motion

                                                            7    to designate the testimony as confidential within 5 days of the notification.

                                                            8                 3.6       Inadvertent Failure to Designate. Inadvertent failure to identify documents or
                                                            9    things as "Confidential" pursuant to this Protective Order shall not constitute a waiver of any

                                                            10   otherwise valid claim for protection, provided that the provisions of this paragraph are satisfied. If the
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                                                            11   designating party discovers that information should have but was not designated "Confidential" or of
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                                                            12   the designating party receives notice that would enable the designated party to learn that it has
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                                                            13   disclosed such information, the designating party must immediately notify all other parties. In such

                                                            14   event, within thirty (30) days of notifying all other parties, the designating parties must also provide

                                                            15   copies of the "Confidential" information designated in accordance with this Protective Order. After

                                                            16   receipt of such re-designated information, the "Confidential" information shall be treated as required

                                                            17   by this Protective Order, and the receiving party(ies) shall promptly, and in no event more than

                                                            18   fourteen (14) calendar days from the receipt of the re-designated information, return to the designated

                                                            19   party all previously produced copies of the same unlegended documents or things. The designating

                                                            20   party and the parties may agree to alternative means. The receiving party(ies) shall receive no

                                                            21   liability, under this Protective Order or otherwise, for any disclosure of information contained in

                                                            22   unlegended documents or things occurring before the receiving party was placed on notice of the

                                                            23   designating party's claims of confidentiality.

                                                            24           4.     Designations by Another Party.

                                                            25                4.1       Notification of Designation. If a party other than the producing party believes

                                                            26   that a producing party has produced a document that contains or constitutes Confidential Information

                                                            27   of the non-producing party, the non-producing party may designate the document as Confidential

                                                            28   Information by so notifying all parties in writing within fourteen (14) days of service of the document.
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                                                            1                 4.2       Return of Documents; Non-disclosure. Whenever a party other than the

                                                            2    producing party designates a document produced by a producing party as Confidential Information in

                                                            3    accordance with subparagraph 4.1, each party receiving the document shall either add the Confidential

                                                            4    Information designation in accordance with subparagraph 3.2 or substitute a copy of the document

                                                            5    bearing such designation for each copy of the document produced by the producing party. Each party

                                                            6    shall destroy all undesignated copies of the document or return those copies to the producing party, at

                                                            7    the direction of the producing party. No party shall disclose a produced document to any person, other

                                                            8    than the persons authorized to receive Confidential Information under subparagraph 7.1, until after the
                                                            9    expiration of the fourteen (14) day designation period specified in subparagraph 4.1. If during the

                                                            10   fourteen (14) day designation period a party discloses a produced document to a person authorized to
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                                                            11   receive Confidential Information under subparagraph 7.1, and that document is subsequently
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                                                            12   designated as Confidential Information in accordance with subparagraph 4.1, the disclosing party shall
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                                                            13   cause all copies of the document to be destroyed or returned to the producing party, at the direction of

                                                            14   the producing party. The party may thereafter disclose a copy of the document that has been marked

                                                            15   as Confidential Information by the designating party, in accordance with subparagraphs 3.2 and 7.1.

                                                            16           5.     Objections to Designations. Any party objecting to a designation of Confidential

                                                            17   Information, including objections to portions of designations of multi-page documents, shall notify the

                                                            18   designating party and all other parties of the objection in writing up to and through trial of the matter.

                                                            19   This notice must specifically identify each document that the objecting party in good faith believes

                                                            20   should not be designated as Confidential Information and provide a brief statement of the grounds for

                                                            21   such belief. In accordance with the Federal Rules of Civil Procedure governing discovery disputes,

                                                            22   the objecting and the designating parties thereafter shall confer within ten (10) days after the date of

                                                            23   such objection in an attempt to resolve their differences. If the parties are unable to resolve their

                                                            24   differences, the objecting party shall have twenty one (21) days after the conference concludes to file

                                                            25   with the Court a motion to remove the Confidential Information. If an objection is served within

                                                            26   forty-two (42) days of trial, the objecting party must file its motion to remove the Confidential

                                                            27   Information designation within half of the remaining time before trial, and the meet-and-confer period

                                                            28   shall be shortened accordingly. Where a party authored, created, owns, or controls a document,
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                                                            1    information or other material that another party designates as Confidential Information, the party that

                                                            2    authored, created, owns, or controls the Confidential Information may so inform the objecting party

                                                            3    and thereafter shall also be considered a designating party for purposes of this paragraph.

                                                            4            All documents, information and other materials initially designated as Confidential Information

                                                            5    shall be treated as such in accordance with this Protective Order unless and until the Court rules

                                                            6    otherwise, except for deposition transcripts and exhibits initially considered as containing

                                                            7    Confidential Information under subparagraph 3.5, which will lose their confidential status after

                                                            8    twenty-one (21) days unless so designated as Confidential Information. If the Court rules that a
                                                            9    designation should not be maintained as to a particular document, the producing party shall, upon

                                                            10   written request by a party, provide that party a copy of that document without the designation
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                                                            11   described in subparagraph 3.2.
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                                                            12           If an objecting party elects not to make such a motion with respect to documents within twenty
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                                                            13   one (21) days after the conference, information or other materials to which an objection has been

                                                            14   made, the objection shall be deemed withdrawn. The designating party shall have twenty one (21)

                                                            15   days to respond to the objecting party's motion. If no response is filed by the designating party within

                                                            16   twenty one (21) days, the designating party shall be deemed to have consented to the objecting party's

                                                            17   motion pursuant to LR 7-2(d).

                                                            18           6.      Custody. All Confidential Information and any and all copies, extracts and summaries

                                                            19   thereof, including memoranda relating thereto, shall be retained by the receiving party in the custody

                                                            20   of counsel of record, or by persons to whom disclosure is authorized under subparagraph 7.1.

                                                            21           7.      Handling Prior to Trial.

                                                            22                  7.1        Authorized Disclosures. Confidential Information shall be disclosed by the

                                                            23   receiving party only to the following persons:

                                                            24                        a.      Counsel for the parties in this litigation, including their associates, clerks,

                                                            25                                paralegals, and secretarial personnel;

                                                            26                        b.      Qualified persons taking testimony in this litigation involving such

                                                            27                                Confidential Information, and necessary stenographic, videotape and

                                                            28                                clerical personnel;
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                                                            1                           c.     Experts and their staff who are retained by counsel as expert witnesses for

                                                            2                                  a party in this litigation;

                                                            3                           d.     Experts and their staff who are consulted by counsel for a party in this

                                                            4                                  litigation;

                                                            5                           e.     Parties to this litigation, limited to the named party and, if that party is a

                                                            6                                  corporate entity, a limited number of employees of the corporate entity

                                                            7                                  and its insurers;

                                                            8                           f.     Designated in-house counsel and a limited number of assistants,
                                                            9                                  administrative or otherwise;

                                                            10                          g.     Outside vendors employed by counsel for copying, scanning and general
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                                                            11                                 handling of documents;
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                                                            12                          h.     Any person of whom testimony is taken regarding the Confidential
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                                                            13                                 Information, except that such person may only be shown Confidential

                                                            14                                 Information during his/her testimony, and may not retain a copy of such

                                                            15                                 Confidential Information; and

                                                            16                          i.     This Court and this Court's staff, subject to the Court's processes for filing

                                                            17                                 materials under seal.

                                                            18                Such disclosures are authorized only to the extent necessary to investigate, prosecute, or

                                                            19   defend the litigation.

                                                            20           Confidential Information may not be disclosed to persons under subparagraphs (c) or (d) until

                                                            21   the receiving party has obtained a written acknowledgment from the person receiving Confidential

                                                            22   Information, in the form of the Declaration attached hereto as Exhibit A, that he or she has received a

                                                            23   copy of this Protective Order and has agreed to be bound by it. A party who discloses Confidential

                                                            24   Information in accordance with subparagraph 7.1 shall retain the written acknowledgment from each

                                                            25   person receiving Confidential Information, shall maintain a list of all persons to whom a receiving

                                                            26   party has disclosed Confidential Information and identify what documents have been disclosed, and

                                                            27   shall furnish the written acknowledgments and disclosure list to opposing counsel as follows: (i) for a

                                                            28   person under subparagraph (c), within thirty (30) days after the person signs the Declaration; and (ii)
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                                                            1    for a person under subparagraph (d), within thirty (30) days after the matter is finally concluded.

                                                            2    Disclosure of Confidential Information to this Court, including judicial staff, shall be made in

                                                            3    accordance with subparagraph 7.4 of this Protective Order.

                                                            4                  7.2     Unauthorized Disclosures. All persons receiving Confidential Information

                                                            5    under the terms of this Protective Order are under the jurisdiction of the state courts and U.S. federal

                                                            6    courts located in Nevada for all matters arising from the improper disclosure or use of such

                                                            7    information. If Confidential Information is disclosed to any person other than in the manner

                                                            8    authorized by this Protective Order, the party or person responsible for the disclosure, and any other
                                                            9    party or person who is subject to this Protective Order and learns of such disclosure, shall immediately

                                                            10   bring such disclosure to the attention of the designating party. Without prejudice to other rights and
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                                                            11   remedies of the designating party, the responsible party or person shall make every effort to obtain
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                                                            12   and return the Confidential Information and to prevent further disclosure on its own part or on the part
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                                                            13   of the person who was the unauthorized recipient of such information.

                                                            14                 7.3     Court Filings. In the event any Confidential Information must be filed with the

                                                            15   Court prior to trial, the proposed filing shall be accompanied by a motion to file the Confidential

                                                            16   Information under seal that complies with Local Rule 10-5(b) and a proposed order, and the

                                                            17   application and proposed order shall be directed to the judge to whom the Confidential Information is

                                                            18   directed. This provision is applicable to briefs, memoranda, and other filings which quote, summarize,

                                                            19   or describe Confidential Information.

                                                            20           8.     Care in Storage. Any person in possession of Confidential Information produced by

                                                            21   another party shall exercise reasonable and appropriate care with regard to the storage, custody,

                                                            22   copying, and use of such information to ensure that the confidential and sensitive nature of same is

                                                            23   maintained.

                                                            24           9.     Handling During Trial. Confidential Information that is subject to this Order may be

                                                            25   marked and used as trial exhibits by either party, subject to terms and conditions as imposed by the

                                                            26   Court upon application by any party.

                                                            27           10.    No Implied Waivers. This Protective Order shall not be interpreted as a waiver of the

                                                            28   right to object, under applicable law, to the furnishing of information in response to discovery requests
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                                                            1    or to object to a requested inspection of documents or facilities. Parties producing Confidential

                                                            2    Information in this litigation are doing so only pursuant to the terms of this Protective Order. The

                                                            3    taking of any action in accordance with the provisions of this Protective Order shall not be interpreted

                                                            4    as a waiver of any claim or position or defense in this action, or any other actions.

                                                            5            11.    No Admission. The designation of any item as Confidential Information shall not be

                                                            6    construed as an admission that such material, or any testimony concerning such material, would be

                                                            7    admissible in evidence in this litigation or in any other proceeding.

                                                            8            12.    Inadvertent Disclosure. Nothing in this Protective Order abridges applicable law
                                                            9    concerning inadvertent disclosure of a document that the Disclosing Party believes contains attorney-

                                                            10   client communications, attorney work product, or otherwise privileged information. If a party
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                                                            11   inadvertently discloses documents or information subject to a claim of privilege or work product
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                                                            12   protection, such disclosure will not waive otherwise applicable claims of privilege or work product
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                                                            13   protection under applicable law. Upon discovery by the Receiving Party, or receipt of written notice

                                                            14   from the Disclosing Party identifying privileged or protected Documents that were inadvertently

                                                            15   produced, the receiving party shall within seven (7) business days either: (a) return or certify the

                                                            16   destruction of all such documents, all copies, and any work product or portions of any work product

                                                            17   containing or reflecting the contents of the subject materials; or (b) after attempting to resolve any

                                                            18   dispute with opposing counsel informally, file a motion to challenge the assertion of privilege and

                                                            19   tender the subject documents for in camera review with the motion. The moving party shall do

                                                            20   nothing to compromise the privilege claim until the Court rules on said motion and the opportunity for

                                                            21   appellate review is exhausted or the issue is otherwise resolved.

                                                            22           13.    Parties' Own Documents. This Protective Order shall in no way restrict the parties in

                                                            23   their use of their own documents and information, and nothing in this Protective Order shall preclude

                                                            24   any party from voluntarily disclosing its own documents or information to any party or nonparty.

                                                            25           14.    Motion by Third Party to Compel Production of Confidential Information. If any

                                                            26   third party subpoenas Confidential Information from a party to this action or moves to compel a party

                                                            27   to this action to produce any such information, such party shall immediately notify the parties who

                                                            28   originally produced and/or designated such information that a subpoena has been served or a motion
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                                                            1    has been made in order to allow the parties who originally produced and/or designated such

                                                            2    information the opportunity to seek a protective order or oppose the motion or application. If, within

                                                            3    thirty (30) days after receiving notice of a subpoena seeking Confidential Information from a

                                                            4    receiving party, the party who originally produced and/or designated such information fails to move

                                                            5    for a protective order, the party subject to the subpoena may produce said information. In addition, if a

                                                            6    party is ordered to produce Confidential Information covered by this Protective Order, then notice

                                                            7    and, if available, a copy of the order compelling disclosure shall immediately be given the parties who

                                                            8    originally produced and/or designated such information. Nothing in this Protective Order shall be
                                                            9    construed as requiring the party who is ordered to produce such Confidential Information to challenge

                                                            10   or appeal any order requiring the production of such information or to subject himself/herself to any
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                                                            11   penalty for non-compliance with any legal process or seek any relief from the Court.
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                                                            12           15.    No Effect on Other Rights. This Protective Order shall in no way abrogate or
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                                                            13   diminish any pre-existing contractual, statutory, or other legal obligations or rights of any party with

                                                            14   respect to Confidential Information.

                                                            15           16.    Modification. In the event any party hereto seeks a Court order to modify the terms of

                                                            16   this Protective Order, or seeks a protective order which incorporates the terms and conditions of this

                                                            17   Protective Order said party shall make such request by written stipulation or noticed motion to all

                                                            18   parties that must be served and filed in accordance with local court rules.

                                                            19           17.    Handling Upon Conclusion of Litigation. All parties, counsel, and persons to whom

                                                            20   disclosure was made agree to return all Confidential Information to the designating party within thirty

                                                            21   (30) days of the conclusion of litigation between the parties, including final appellate action or the

                                                            22   expiration of time to appeal or seek further review. In addition, counsel shall certify in writing that all

                                                            23   such Confidential Information have been returned. Counsel for each party also shall contact each

                                                            24   person to whom that party has provided a copy of any Confidential Information and request the

                                                            25   documents be returned. In lieu of returning Confidential Information, the person or party in possession

                                                            26   of such information may elect to destroy it. If the person or party in possession of Confidential

                                                            27   Information elects to destroy it rather than return it, that person or party must notify the designating

                                                            28   party in writing of the destruction of the information within ninety (90) days of the conclusion of
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                                                            1    litigation between the parties, including final appellate action or the expiration of time to appeal or

                                                            2    seek further review.

                                                            3            18.         Survival of the Terms of this Protective Order. Even after the termination of this
                                                            4    litigation, the confidentiality obligations imposed by this Protective Order shall remain in effect until
                                                            5    a Designating Party otherwise in writing or a court order otherwise directs.
                                                            6                 DATED this 8th day of January, 2021.
                                                            7

                                                            8    AKERMAN LLP                                             HONG & HONG LAW OFFICE

                                                            9    /s/ Natalie L. Winslow                                  /s/ Joseph Y. Hong
                                                                 ARIEL E. STERN, ESQ.                                    JOSEPH Y. HONG, ESQ.
                                                            10   Nevada Bar No. 8276                                     Nevada Bar No. 5995
                                                                 NATALIE L. WINSLOW, ESQ.                                1980 Festival Plaza Drive, Suite 650
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                 Nevada Bar No. 12125                                    Las Vegas, NV 89135
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11
                                                                 NICHOLAS E. BELAY, ESQ.
                      LAS VEGAS, NEVADA 89134




                                                            12   Nevada Bar No. 15175                                    Attorneys for Joel A. Stokes and Sandra F.
                                                                 1635 Village Center Circle, Suite 200                   Stokes, as Trustees of the Jimijack Irrevocable
AKERMAN LLP




                                                            13   Las Vegas, NV 89134                                     Trust
                                                            14   Attorneys for NewRez LLC dba Shellpoint
                                                                 Mortgage Servicing
                                                            15

                                                            16
                                                                              IT IS SO ORDERED.                   ORDER
                                                            17                                       IT IS SO ORDERED
                                                            18                                                        _____________________________________
                                                                                                     DATED: 4:06 pm, January 11, 2021
                                                                                                                      UNITED STATES MAGISTRATE JUDGE
                                                            19

                                                            20                                                     DATED: __________________________
                                                                                                     BRENDA WEKSLER
                                                            21                                       UNITED STATES MAGISTRATE JUDGE
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                                                                                                      14 Filed 01/11/21
                                                                                                               01/08/21 Page 12 of 12




                                                                                                      EXHIBIT A
                                                            1                          ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND
                                                            2                 I, ______________________, and read in its entirety and understand the Protective Order
                                                            3    that was issued by the United States District Court, for the District of Nevada, on
                                                            4    ________________, 2020, in the case of NewRez LLC dba Shellpoint Mortgage Servicing v. Joel A.
                                                            5    Stokes, et al., Case No.: 2:20-cv-00946-JCM-BNW. I agree to comply with and be bound by all
                                                            6    terms of this Protective Order and I understand and acknowledge that failure to so comply could
                                                            7    expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will not
                                                            8    disclose in any manner any information or item that is subject to this Protective Order to any person
                                                            9    or entity except in strict compliance with this Protective Order. Further, I solemnly promise that I
                                                            10   will not offer to sell, advertise or publicize that I have obtained any protected material subject to this
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11   Protective Order.
                      LAS VEGAS, NEVADA 89134




                                                            12                At the conclusion of this matter, I will return all protected materials which came into my
AKERMAN LLP




                                                            13   possession or control to counsel for the party from whom I received the protected material, or I will
                                                            14   destroy those materials.          I understand that any confidential information contained within any
                                                            15   summaries of protected material shall remain protected pursuant to the terms of this Order.
                                                            16                I further agree to submit to the jurisdiction of the United States District Court, for the District
                                                            17   of Nevada for the purpose of enforcing the terms of this Protective Order, even if such enforcement
                                                            18   proceedings occur after termination of this action.
                                                            19

                                                            20                I certify under penalty of perjury that the foregoing is true and correct.
                                                                              Date: ____________________________
                                                            21
                                                                              City and State where signed: ________________________________
                                                            22
                                                                              Printed Name: ___________________________________________
                                                            23
                                                                              Address: ________________________________________________
                                                            24                Signature: _______________________________________________
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